            Case 2:20-cv-10738-JAK-MAA                Document 86        Filed 02/14/25       Page 1 of 2 Page ID
Name, Address, and Phone Number of Attorney(s):
                                                           #:1403
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PERKINS COIE LLP
1888 Century Park East, Suite 1700
Century City, CA 90067
310-788-3291


                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA

                                                                                          CASE NUMBER
LENDLEASE (US) CONSTRUCTION INC.,
                                                                                    2:20-cv-10738-JAK-MAA
                                                        Plaintiff(s)
                               V.                                      (PROPOSED) ORDER TO APPEAR FOR EXAMINATION
                                                                       OF   JUDGMENT DEBTOR or     THIRD PERSON RE:

                                                                                  ENFORCEMENT OF JUDGMENT
                                                                                  ATTACHMENT (Third Person)
                                                      Defendant(s)
The Court, having considered the Application for Appearance and Examination Re: Enforcement of
Judgment/Attachment, hereby ORDERS the Application be         GRANTED        DENIED.

TO: FTI Consulting (BVI) Limited
                  (Name of Person Ordered to Appear)
YOU ARE ORDERED TO APPEAR personally before the Honorable Maria A. Audero                                               , to:
    furnish information to aid in enforcement of a money judgment against you.
    answer concerning property of the judgment debtor in your possession or control or concerning a debt you owe the
    judgment debtor.
    answer concerning property of the defendant in your possession or control concerning a debt you
    owe the defendant that is subject to attachment.
    furnish information to aid in enforcement of a money judgment against the judgment debtor.
    furnish information to aid in enforcement of a right to attach order against the defendant.
    other: furnish information regarding the marketing and sale of the Ko-Olina 1 and 2 lots in Hawaii.

Date of appearance: February 24, 2025               Courtroom:880                  Time: 12:00        a.m.    p.m.
Location of Appearance:               First Street Courthouse, 350 West 1st Street, Los Angeles, CA
                                      Roybal Courthouse, 255 E. Temple Street, Los Angeles, CA
                                      Santa Ana Courthouse, 411 W. Fourth Street, Santa Ana, CA
                                      Riverside Courthouse, 3470 Twelfth Street, Riverside, CA

This Order may be served by a marshal, sheriff, registered process server, or the following, specially appointed
person:                                                .
                 (Name of Appointed Process Server)

       February 14, 2025
Date: ___________________                                                         /s/ Maria A. Audero
                                                                           _______________________________
                                                                           U.S. District Judge/U.S. Magistrate Judge

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                                                 (Enforcement of Judgment/Attachment)
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                APPEARANCE OF JUDGMENT DEBTOR
                                            #:1404(ENFORCEMENT OF JUDGMENT)
NOTICE TO JUDGMENT DEBTOR: If you fail to appear at the time and place specified in this order, you may be
subject to arrest and punishment for contempt of court and the court may make an order requiring you to pay the
reasonable attorney fees incurred by the judgment creditor in this proceeding.

                                   APPEARANCE OF A THIRD PERSON
                      (ENFORCEMENT OF JUDGMENT - CALIFORNIA C.C.P. SECTION 708.120)

(1) NOTICE TO PERSON SERVED: If you fail to appear at the time and place specified in this order, you may be
subject to arrest and punishment for contempt of court and the court may make an order requiring you to pay the
reasonable attorney fees incurred by the judgment creditor in this proceeding.

(2) NOTICE TO JUDGMENT DEBTOR: The person in whose favor the judgment was entered in this action claims
that the person to be examined pursuant to this order has possession or control of property which is yours or owes you
a debt. This property or debt is as follows (Clearly describe the property or debt. Print or type the description. Use
an additional sheet of paper, if necessary.):




Interest as receiver, which marketed and sold real property in Hawaii indirectly owned by judgment debtor.




If you claim that all or any portion of this property or debt is exempt from enforcement of the money judgment, you
MUST file your exemption claim in writing with the court and have a copy personally served on the judgment creditor
not later than three (3) days before the date set for the examination.

You MUST appear at the time and place set for the examination to establish your claim of exemption or your
exemption may be waived.

     APPEARANCE OF A THIRD PERSON (ATTACHMENT - CALIFORNIA C.C.P. SECTION 491.110)

NOTICE TO PERSON SERVED: If you fail to appear at the time and place specified in this order, you may be
subject to arrest and punishment for contempt of court and the court may make an order requiring you to pay the
reasonable attorney fees incurred by the plaintiff in this proceeding.


                              APPEARANCE OF A CORPORATION, PARTNERSHIP,
                              ASSOCIATION, TRUST, OR OTHER ORGANIZATION

It is your duty to designate one or more of the following to appear and be examined: officers, directors, managing
agents, or other persons who are familiar with your property and debts.




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                                              (Enforcement of Judgment/Attachment)
